Pro Se | (Rev. 12/16) Complaint for a Civil Case

ows Brie Sahat

Plaintiff(s)

(Write the full name of each plaintiff who is filing this complaint.
Ef the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

Case 2:19-cv-00384-LEW Document1 Filed 08/19/19 Pageiof7 PagelD#:1

‘See attad hed :

Defendant(s}

(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page

with the full list of names.)

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UNITED: STATESDISTRICT COURT

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COD ivigion

be Case No.

(to be filled in by the Clerk's Office}

Jury Trial: (check one) Yes [No

=Y-=

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COMPLAINT FOR A CIVIL CASE

The Parties to This Complaint

A.

 

The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

Name Lou's Brice Salvat

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Street Address ail C tenideer Laat / Aue tt 41 10

City and County ref! tu / / (A nb baal /

State and Zip Code MM gasle._ ©4101-4919

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Telephone Numb
elephone Number AO7-leTl~ [ESL

 

E-mail Address hows: LS Sal tote @ Yahac Corr)

The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifinown), Attach additional pages if needed.

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Defendant No. |

Name “fartaud Alousrip Authority ____
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Street Address / a JAax ter Boul Cvared
City and County “To rtlastad / Cum bottasrid
State and Zip Code Mase ©O¥€/0 /
Telephone Number 267-773-4753

E-mail Address (if known)

Defendant No. 2

 

 

Name Lock. B. Acdelsost

Job or Title pif known) Pe cutive. Drechr / Hla wd He ousiuig
Street Address L¢ Barter idevard °
City and County “Tro cHostd Cumberlarsd

State and Zip Code Marie otiol

Telephone Number 3207 -9973-Y¥I SS

 

E-mail Address (if known)

Defendant No. 3

Name . —Treye c Magen

Job or Title (if known) Director of! fublic Heusssg ~Parthadd Hubnt
Street Address 14 Basder vard

City and County <Fartlaud Lumberlenet

State and Zip Code Mea Ale, Oo if- fof

Telephone Number aot7- 79.3- 4784

E-mail Address (if known)

Defendant No. 4

 

Name Meee LD ile ans PLU
Job or Title (if/known) cr [Fa PrYedkira Tow Hous
Street Address bch a ve. / Le/ Lod mot st Ago
City and County ached [ Cumberdasc

State and Zip Code Maiue’ o4/o0f

Telephone Number 267 -R2/- Fox Oo

E-mail Address (if known)

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II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check aif that apply)

Federal question LJ Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

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B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, ¢rame) , is a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of fname) ;

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (mame) . Oris acitizen of
(foreign nation)

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IV.

b, If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of fname) , and has its

principal place of business in the State of (name)
Or is incorporated under the laws of (foreign nation) 3

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

a The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the

facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was

involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including

the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and

write a short and plain statement of,each claim in a separate paragraph. Attach additional pages if needed.
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State briefly and eocely Shar diaiages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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b. If the defendant is a corporation
The defendant, fname) , 18 incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)
Or is incorporated under the laws of (foreign nation)

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional Page providing the
same information for each additional defendant.)

a The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

Hl. Statement of Claim

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Mi

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involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages " needed.

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State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.
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Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1} is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: they / qth
may

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

  

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Certification and Closing

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complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

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address on file with the Clerk's Office may result in the dismissal of my case.

Date of voninddug. 114 2079
Signature of Plaintiff Youth BAallutee
Printed Name of Plaintiff Khotui's B Salvato

B. For Attorneys

Date of signing: , 20

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm
Address

Telephone Number
E-mail Address

 

 

 

 

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